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                  IN THE UNITED STATES DISTRI
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                       NORTHERN DISTRICT OF TE
                           FORT WORTH DIVISION
                                                       s
                                                             CLERK, U.S. DISTRICTCOCRT
JOHNNEY R. WEAVER,                    §
                                                              By ____~~------
                                      §                                Deput)

            Plaintiff,                §
                                      §
VS.                                   §   NO. 4:09-CV-187-A
                                      §
ROBERT E. HOUCHIN,                    §
                                      §
            Defendant.                §


                            MEMORANDUM OPINION
                                    and
                                   ORDER

      Now before the court for consideration is a document filed

by defendant, Robert E. Houchin, titled "Defendant Robert E.

Houchin's Response to Plaintiff's Johnney R. Weaver's

Inventorship Contentions Filed on May 12, 2010 As Part of

Plaintiffs' Description of Each Plaintiff's Contribution to the

Patent and Supporting Evidence"       ("Response").          In the Response,

defendant seeks dismissal of plaintiff's sole remaining claim of

co-inventorship of United States Patent No. 7,316,614 B2 ("'614

Patent").    After considering the Response and other pertinent

documents on file with the papers of the court in this action,

described in detail in section I below, the court is construing

the Response as a motion for summary judgment, and concludes that

the motion should be granted.
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                                       1.

                       Procedural History of the Case

     Plaintiff, along with former co-plaintiffs Entertainment

Merchandising Technology, L.L.C., Earl Morris ("Morris"), Mark

Olmstead ("Olmstead"), and Michael J. Dietz ("Dietz"), filed the

instant action on March 30, 2009.           On April 1, 2010, the court

granted defendant's motion for summary judgment as to all claims

and causes of action brought by plaintiffs, except for the claims

and causes of action for breach of contract and co-inventorship.

The court subsequently dismissed the breach of contract claims

and causes of action during the pretrial conference held on May

3, 2010, leaving only the claims of co-inventorship.              During the

pretrial conference the court ordered the plaintiffs to file a

document specifically describing what each plaintiff contributed

to the conception of the patent and the evidence in support.

Plaintiffs filed the inventorship contentions on May 12, 2010.

     On May 14, 2010, Morris, Olmstead, and Dietz filed a motion

to dismiss their remaining claims and causes of action, which the

court granted on May 17, 2010.

     On May 27, 2010, defendant filed a document titled "Motion

for Leave to File Response to Plaintiff Johnney R. Weaver's

Inventorship Contentions Filed on May 12, 2010 and Appendix in

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Support"    ("Motion for Leave").     Attached to the Motion for Leave

was a copy of the Response and all of the exhibits referred to

therein.     Thus, when plaintiff received a copy of the Motion for

Leave, he also received a complete copy of the Response and its

attachments.     The court ordered plaintiff by June 7, 2010, to

file a response to the Motion for Leave.          On June 3, 2010,

plaintiff's counsel filed, and the court granted, a motion to

withdraw.     Plaintiff has not filed a designation of new counsel

and since June 3 has prosecuted his case pro se.

     On June 7, 2010, plaintiff filed a document titled "Reply to

Defendant's Motion and Plaintiff's Motions for Judgment on the

Pleadings or Plaintiff's Motion for Summary Judgment"             ("Reply").

On June 14, 2010, the court granted defendant's Motion for Leave

and ordered the Response filed with the papers of the court.

Upon reviewing plaintiff's Reply, it is evident that plaintiff

has reviewed the Response, as he refers to portions of that

document in the Reply, and apparently intended the Reply to serve

as his answer to the Response, rather than to the Motion for

Leave.     On the cover page of the Reply, plaintiff states that he

"believes and states that the facts are in sufficient agreement

that this matter should be determine [sic] by the Court on the

pleading [sic], depositions, documents and other items filed in

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this action."           Considering that in the Response defendant seeks

dismissal of plaintiff's sole remaining claim, the court is

construing the Response as a motion for summary judgment as to

plaintiff's claim of co-inventorship, and is construing the Reply

as plaintiff's response to the motion for summary judgment.l

                                                 II.

                                       Undisputed Facts

        The factual background set forth in the memorandum opinion

and order signed April 1, 2010, in the instant action is also

applicable to plaintiff's claims of co-inventorship.                                  The court

adopts in this memorandum opinion and order by reference all

facts contained on pages 3-6 of the memorandum opinion and order

signed April 1, 2010, as well as all undisputed facts found on

pages 13-19 of the Revised Joint Pre-trial Order signed May 3,

2010, in the instant action.

       Additionally, as mentioned previously, in response to this

court's order, plaintiff on May 12, 2010, filed a document titled

"Plaintiffs' Description of Each Plaintiff's Contribution to the

Patent and Supporting Evidence."                       As to plaintiff, the foregoing




1Although the court is construing the Response as a motion for summary judgment and is construing the

Reply as plaintiffs response thereto, for clarity the court will continue to refer to the documents as
defendant's Response and plaintiffs Reply.

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document sets forth his alleged contribution to the conception of

the '614 Pa t en t , and supportlng
                                .   evidence, as follows:

      Johnney Weaver's Contribution to the Conception of the
      Invention

                                       ~xhlblt 12--Hello Money
      [Plaintiff] contributed to the
      ~nvention in collaborating with
                                       ~weepstakes; Testimony of

      ~he others on the idea of means
                                       Morris, Olmstead, [plaintiff]
      ~or activating the prepaid
      ~oucher in a separate activation
      ~tation in data communication
      ~ith the system manager
      ~omputer.

      [Plaintiff] contributed to the   Exhlblt 12--Hello Money
      invention of the idea of using a Sweepstakes; Testimony of
      plastic card with a magnetic     Morris, Olmstead, [plaintiff]
      ~ata strip as the prepaid
      ~oucher.

      [Plaintiff] contributed to the  Exhibit 12--Hello Money
                                      ~weepstakes; Testimony of
      conception in collaboration on
      rhe idea of a sweepstakes to be Morris, Olmstead, [plaintiff]
      ~un via the network.
                                      ~xhlbit 66--Photo Money Talk
      [Plaintiff] contributed to the
                                      ~ame equipment
      conception of the idea network
      for connecting a game with      ~estimony Morris, Dietz,

      conversion kit for retrofitting Vaudrin, [plaintiff]
     ~n  8-liner machine which was
     Iknown as "Money Talk."
                                      ~estimony MorrlS and Olmstead
     Morris, Olmstead, [plaintiff]
     ~nd [defendant] met frequently
                                      Ftnd [plaintiff]
     ~ollaborating and discussing the
     concepts and idea through which
     ~he Hello Money Sweepstakes was
     ~onceived.


App. in Supp. of Def.'s Resp. to PI.'s Inventorship Contentions

( "Def . 's App."), at 7.



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                                      III.

               Applicable Summary Judgment Principles

     A party is entitled to summary judgment on all or any part

of a claim as to which there is no genuine issue of material fact

and as to which the moving party is entitled to judgment as a

matter of law.     Fed. R. Civ. P. 56(c); Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 247 (1986).            Where, as here, the court is

considering undisputed facts in resolving a motion for summary

judgment, the only remaining question is whether defendant is

entitled to judgment as a matter of law.            In a patent dispute,

inventorship is a question of law for the court.                Gemstar-TV

Guide Int'l, Inc. v. Int'l Trade Comm'n, 383 F.3d 1352, 1360

(Fed. Cir. 2004).

                                      IV.

                                 Analysis

     The United States patent laws provide for the correction of

an issued patent in the circumstance where a co-inventor was

erroneously omitted from the patent.            35 U.S.C.   §   256; Hess v.

Adv. Cardiovascular Sys., Inc., 106 F.3d 976, 979 (Fed. Cir.

1997).   To prevail on a claim of co-inventorship, the purported

co-inventor bears a heavy burden to "prove [his] contribution to

the conception of the claims by clear and convincing evidence."

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Ethicon, Inc. v. United States Surgical Corp., 135 F.3d 1456,

1461 (Fed. Cir. 1998); see also Hess, 106 F.3d at 680.                 Testimony

of one claiming to be an inventor, or that of his alleged co-

inventors, without more, cannot establish a claim of co-

inventorship.     Ethicon, 135 F.3d at 1461; Hess, 106 F.3d at 980.

"Thus, an alleged co-inventor must supply evidence to corroborate

his testimony."        Ethicon, 135 F.3d at 1461.

      Corroboration may take the form of contemporaneous documents

prepared by the purported inventor, testimony of an independent

witness, or circumstantial evidence of an independent nature

concerning the inventive process.          Id.; Medichem, S.A. v. Rolabo,

S.L., 437 F.3d 1157, 1170-71 (Fed. Cir. 2006).             However, "[t]he

requirement of independent knowledge remains key to the

corroboration inquiry."        Medichem, 437 F.3d at 1170.         Whether the

alleged co-inventor has sufficiently corroborated his testimony

is considered under a "rule of reason" analysis, meaning that

"[a]n evaluation of all pertinent evidence must be made so that a

sound determination of the credibility of the [alleged]

inventor's story may be reached."          Ethicon, 135 F.3d at 1461

(brackets and emphasis in original).          Application of the "rule of

reason" test, however, does not alter the requirement for



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independent corroboration of the purported inventor's testimony.

Medichem, 437 F.3d at 1170-71 (internal citations omitted).

       Application of the foregoing principles to plaintiff's

inventorship contentions set forth supra leads to the conclusion

that plaintiff has failed to offer sufficient independent

corroboration to support his claim of co-inventorship of the '614

Patent.    Each of plaintiff's inventorship contentions relies at

least in part on the testimony of plaintiff and his former co-

plaintiffs Morris, Olmstead, and Dietz.          As stated above, such

testimony is insufficient to establish co-inventorship as a

matter of law.    See Ethicon, 135 F.3d at 1461; Hess, 106 F.3d at

980.

       Plaintiff further purports to rely on the testimony of an

individual identified as "Vaudrin."         Def.'s App. at 7.         Vaudrin

apparently refers to Tim Vaudrin, an employee of Morris's

company, Infinity Group.      However, plaintiff previously testified

that he had no idea if Vaudrin ever worked on the '614 Patent,

and in fact, believed he did not.         Plaintiff further testified

that the "one thing" that he "kind of really contributed to" was

use of a credit card-style card with a magnetic stripe, but also

testified this contribution came about through brainstorming



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sessions involving plaintiff, defendant, Olmstead, and Morris.

Def.'s App. at 32-33.      Nothing in the inventorship contentions,

nor in the Reply, directs the court to any evidence showing that

Vaudrin had any personal knowledge of plaintiff's alleged

contributions to the '614 Patent to allow him to corroborate

plaintiff's claim of co-inventorship.

     Finally, in the inventorship contentions plaintiff

identifies two of the parties' pretrial exhibits that purportedly

establish his claims of inventorship: exhibit 12, the "Hello

Money" manual, and exhibit 66, a photograph of the "Money Talk"

gaming equipment.      Documentary or physical evidence made

contemporaneously with conception of the invention provides the

most reliable evidence of corroboration.          Sandt Tech., Ltd. v.

Resco Metal & Plastics Corp., 264 F.3d 1344, 1350-51 (Fed. Cir.

2001).   The exhibits offered by plaintiff, however, are

insufficient as a matter of law to constitute contemporaneous

corroboration of co-inventorship.         Plaintiff has testified and

admitted in various pretrial disclosures that no documents exist

evidencing contemporaneous disclosure of plaintiff's conception

related to the '614 Patent.      Such testimony is itself

inconsistent with his claim in the inventorship contentions that

two exhibits now corroborate his inventorship claims.

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       Further, the evidence before the court belies plaintiff's

claim that the Hello Money manual corroborates his inventorship

claim.      The only evidence before the court concerning creation of

the Hello Money manual shows that Morris created the document

with input only from Olmstead, and nothing in the record

demonstrates that plaintiff created that document. 2                              In any

event, a review of the Hello Money manual reveals that although

the manual discusses use of the plastic card with magnetic strip

that plaintiff contends was his contribution to the invention,

nothing in the manual identifies plaintiff as a creator,

developer, or contributor to that document.

       Similarly, exhibit 66 is an undated photograph described as

depicting gaming system equipment Olmstead contended he created

prior to the invention that is the subject of the '614 Patent.

As with the Hello Money manual, no evidence establishes that

plaintiff had any part in creating the equipment depicted in

exhibit 66, nor does plaintiff explain how the photograph in

exhibit 66 corroborates his claim of co-inventorship.                                 Plaintiff



         2In the Reply, plaintiff contends that the manual "was developed over a period of time by the
Plaintiff and his employees and contractors." Reply at 13. This unsworn statement directly contradicts
the affidavit of Morris, who averred that only he and Olmstead provided input for the Hello Money
manual. Elsewhere in the Reply, plaintiff claims he "maintained" the document and ensured it "was
current and reflected the changes in the sweepstakes game system." Reply at 13-14. Unsworn statements
in a brief, such as those made by plaintiff, are not evidence.

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has failed to show how either the Hello Money manual in exhibit

12 or the photograph in exhibit 66 independently corroborate his

claim of co-inventorship.

      In the Reply, plaintiff attempts a number of arguments to

support his claim of co-inventorship, all of which are

unavailing.     Plaintiff first argues that the United States Patent

Office erred in removing plaintiff's name from the corrected copy

of the '614 Patent issued January 29, 2008.             Whether or not the

Patent Office's actions constituted error is beyond the scope of

the action before the court, as "[t]he inventors as named in an

issued patent are presumed to be correct."             Hess, 106 F.3d at 980

(internal citations omitted).         Thus, the court is concerned only

with whether, in the proceedings before it, plaintiff has adduced

sufficiently "clear and convincing evidence" to support his claim

of co-inventorship.

      In furtherance of his argument to be named a co-inventor,

plaintiff discusses his contribution in the form of the plastic

card with a magnetic stripe used to store or track a customer's

telephone time used and sweepstakes points.            As stated above, the

only evidence of this contribution is the testimony of plaintiff

and his other purported co-inventors.          Such testimony, absent any



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independent corroboration, is insufficient as a matter of law to

establish inventorship.       While plaintiff further cites to

portions of defendant's deposition testimony to support the idea

that defendant sought plaintiff's assistance on various projects,

none of the cited testimony corroborates plaintiff's alleged

claim of co-inventorship.

        Plaintiff also contends that defendant's claim that he is

the sole inventor of the '614 Patent fails the "rule of reason"

test.     Plaintiff misapprehends the burden of proof, however, as

it is plaintiff's burden to now prove that he is a co-inventor.

The '614 Patent, naming defendant as sole inventor, is presumed

correct; defendant bears no burden of proof to show the patent is

correct.

        Considering the submissions of the parties and the record

as a whole, the court concludes that plaintiff has failed to

adduce sufficient independent, corroborating evidence to support

his claims of co-inventorship.




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                                           v.

                                       Order

        Therefore,

        The court ORDERS that defendant's Response, construed by the

court as defendant's motion for summary judgment, be, and is

hereby, granted, and that all remaining claims and causes of

action brought by plaintiff, Johnney Weaver, against defendant,

Robert Houchin, be, and are hereby, dismissed with prejudice.

        The court further ORDERS that all outstanding motions in

this case not previously ruled upon be, and are hereby, denied as

moot.

        SIGNED July 8, 2010.




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